Case 2:01-Cr-20141-BBD Document 97 Filed 08/11/05 Page 1 of 3 Page|D 119
IN THE UNITED STATES DISTRICT COURT

 

 

FoR THE wEsTERN DISTRICT oF TENNESSEE sum a ,,___ mo
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THOWS M. GOtRD \
UNITED srATEs oF AMERICA ) CLERK. U.S. pl:'$ml§? OOLRT
) W;'D 05 il\i, ittle
Plaimiff, )
)
Vs ) cR. NO. 01-20141-D
)
osRY LENE REED )
)
Defendant. )
oRDER ro sURRENDER

 

The defendant, Obry Lene Reed, having been sentenced in the above case to the custody of the
Bureau of Prisons and having been granted leave by the Court to report to the designated facility,
IS HEREBY ORDERED to surrender to the Bureau of Prisons by reporting to the FCI Lexington
SCP (F), 3301 Leestown Rd., Lexington, Kentucky 40511 by 2:00 p.m. on WEDNESDAY,
OCTOBER S, 2005.

I'I` IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall
report immediately to the Oflice of the Clerk, Federal Office Building, 167 N. Main Street, Room 242,
Memphis, Tennessee 38103 to acknowledge by signature receipt cfa copy of this Order and that the
defendant Will report as ordered to the facility named above.

ENTERED this the 9 day of August, 2005 .

 

U TED STATES DISTRICT JUDGE

This document entered on the docket sheet in co{mp!iacce
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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, fine or both.

Signed and acknowledged before me on

 

 

 

Clerk/Deputy Clerk Defendant

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 97 in
case 2:0]-CR-20141 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

PDA

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Timothy R. DiScenZa

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

